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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 21-2989-MDL-ALTONAGA/Torres

   In re:

   JANUARY 2021 SHORT SQUEEZE
   TRADING LITIGATION
   _________________________________/

   This Document Relates to the Securities Tranche

                                                ORDER

            THIS CAUSE came before the Court on Defendants, Robinhood Markets, Inc.;

   Robinhood Financial, LLC; and Robinhood Securities, LLC’s (collectively, “Robinhood[’s]”)

   Motion to Dismiss the Federal Securities Tranche Complaint [ECF No. 449], filed on January 7,

   2022. Plaintiffs filed a Response [ECF No. 454], to which Defendants filed a Reply [ECF No.

   455]. The Court has carefully considered the Consolidated Class Action Complaint (“CCAC”)

   [ECF No. 446], the parties’ written submissions, the record, and applicable law. For the following

   reasons, the Motion is granted in part and denied in part.

                                          INTRODUCTION

            In January 2021, market volatility prompted regulators to raise deposit requirements for

   clearing brokers, including Robinhood, to ensure that they could cover the costs of unexecuted

   trades. Robinhood could not afford the new deposit requirements and sought another way to

   appease regulators. It succeeded after regulators agreed to waive the deposit requirements so long

   as Robinhood restricted its customers’ access to certain stocks.

            What followed is disputed, but Plaintiffs characterize it as market manipulation. While

   Robinhood agreed to restrict access to certain stocks, it did not want knowledge of its lack of

   liquidity to become widespread because such information might undermine Robinhood’s
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   credibility with customers and investors alike. To divert the public’s attention away from

   Robinhood’s lack of liquidity, Robinhood blamed market volatility for its restrictions and

   vehemently denied any trouble with its own liquidity.

          Now, Robinhood asks the Court to dismiss the pleading setting forth Plaintiffs’ market

   manipulation theory. It relies on the unconventional nature of the theory, among other reasons, as

   a basis for dismissal. Plaintiffs, in contrast, argue that irrespective of the theory’s unconventional

   nature, it is sufficient that Robinhood’s alleged actions artificially affected supply and demand,

   thereby depriving investors of an accurate picture of the market. The Court agrees with Plaintiffs

   and explains further below.

                                            BACKGROUND

   I.     Robinhood’s History

          In the wake of the Occupy Wall Street protests, Vlad Tenev and Baiju Bhatt came up with

   an idea to democratize finance: Robinhood. (See CCAC ¶ 31). The two Robinhood founders set

   out to create an application-based trading platform that would give anyone with a smart phone

   access to public markets. (See id. ¶ 2). Its users joined a growing trend of lay traders, also known

   as retail investors, who use online brokerage firms to trade securities. (See id. ¶¶ 2, 5, 8, 35, 37).

   With Robinhood leading the pack, the online retail trading industry exploded, bringing markets to

   consumers’ fingertips. (See id. ¶ 35).

          Democratizing finance proved to be extremely lucrative. Robinhood earned millions of

   dollars from a system called “payment for order flow” (“PFOF”). (Id. ¶ 32 (quotation marks

   omitted)). PFOF is a revenue model whereby customers bid on securities through their brokerage

   platform, but instead of taking the bid directly to an exchange, like the New York Stock Exchange

   (NYSE) or NASDAQ, the broker brings the bid to a market maker. (See id.). Market makers



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   stand ready to buy or sell securities but typically respond to the bid with an ask price that, if

   accepted, decreases or increases the return for the customer. (See Robinhood Fin., LLC, Securities

   Act Release No. 10906, Exchange Act Release No. 90694, 2020 WL 7482170, at *3 (Dec. 17,

   2020)). 1   High volume trading makes PFOF extremely lucrative because market makers

   compensate brokers for routing their customers’ orders to them –– hence “payment for order flow.”

   (See CCAC ¶¶ 32, 49). For example, in 2020, Citadel Securities, a market maker, paid Robinhood

   $326 million, up from $80.5 million in 2019. (See id. ¶ 49).

           Market makers also route the trading data from Robinhood’s platform to high-frequency

   traders (“HFTs”). (See id. ¶¶ 3, 33 n.9). HFTs use algorithms that automatically trade based on

   existing trends. (See id. ¶ 30 n.5). Upon receiving bid data from market makers, HFTs front-run

   the bid, anticipating the effect of the bid on the security’s price before the transaction is

   consummated. (See id. ¶¶ 3, 30 n.5, 31, 34).

           Robinhood’s popularity also reflected the growing trend of retail trading during the

   COVID-19 pandemic. (See id. ¶ 35). Retail investors convened on social media sites, like Reddit

   and Stockwit, “to discuss investment strategy and the merits of trading in particular stocks.” (Id.).

           By December 2020, Robinhood claimed “to have opened nearly 50% of all retail brokerage

   accounts in the past five years” and had a total of 12.5 million online accounts. (Id. ¶ 5 (footnote

   call number omitted)). Before Robinhood would go on to add another 3 million accounts in

   January 2021, the press reported in December that Robinhood had selected Goldman Sachs to

   manage Robinhood’s initial public offering in 2021. (See id. ¶¶ 5, 39 (citation omitted)).




   1
    Federal Rule of Evidence 201(b)(2) allows the Court to take judicial notice of the Securities & Exchange
   Commission’s (“SEC[’s]”) cease-and-desist order, as well as other SEC publications.
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   II.    The Short-Squeeze Crisis

          Several prominent investors planted seeds of crisis in November 2020, when they

   purchased shares in what became known as “meme stocks” or the “Affected Stocks.” 2 (Id. ¶¶ 4,

   40 (quotation marks omitted)). The investments pitted these well-known investors against several

   hedge funds that took short positions in the meme stocks. (See id. ¶¶ 35, 40, 43). Melvin Capital

   was one such hedge fund that took a short position in GameStop. (See id. ¶ 43).

          Short positions derive from a belief that the price of a security is overvalued and will

   eventually fall. To capitalize on this hunch, investors, known as short sellers, purchase a “short.”

   (See id. ¶¶ 40–43, 70–72). The mechanics of a short are as follows: (1) an investor identifies a

   security that it wants to short, such as a stock, and deposits capital, or margin, into a brokerage

   account to cover the risk of loss associated with the short; (2) a lender loans the security to the

   investor; (3) upon receiving the borrowed security, the investor sells it for a high price; and (4) the

   investor waits until the anticipated drop in share price occurs and then repurchases the stock for

   less than she sold it. (See Jan. 26, 2022 Order [ECF No. 453] 3 [hereinafter “Robinhood Tranche

   Order”]).

          Short positions may bear substantial risk. (See, e.g., CCAC ¶¶ 41–43). If the stock price

   rises a little, the short seller loses money. (See, e.g., id. ¶ 41). If the stock price rises a lot, the

   broker may issue a margin call, which requires that the short seller deposit more capital into its

   brokerage account to minimize the risk of the rising stock. (See id. ¶¶ 38, 38 n.18, 42; see also

   SEC, Staff Report on Equity and Options Market Structure Conditions in Early 2021, at 26 (Oct.

   28,   2021),    https://www.sec.gov/files/staff-report-equity-options-market-struction-conditions-


   2
    The “Affected Stocks” include AMC Entertainment Holdings, Inc. (“AMC”); Bed Bath & Beyond Inc.
   (“BBBY”); BlackBerry Ltd. (“BB”); Express Inc. (“EXPR”); GameStop Corp. (“GME”); Koss Corp.
   (“KOSS”); Tootsie Roll Industries Inc. (“TR”); and American Depositary Shares of foreign-issuers Nokia
   (“NOK”) and trivago N.V (“TRVG”). (See CCAC ¶¶ 1, 128).
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   early-2021.pdf (“SEC Staff Report”))). If the stock price continues to rise with no end in sight,

   short sellers will capitulate and purchase the stock to cover their losses. (See CCAC ¶ 43). This

   pattern results in a vicious cycle known as a short squeeze: (1) a stock’s price rises; (2) short sellers

   purchase the stock to cover their losses; (3) short sellers’ capitulation causes the stock price to rise

   further; (4) and other short sellers are forced to purchase the stock; (5) sending the stock price

   rising even further, and so on.

           After noticing the contest between hedge funds and other investors, retail investors rallied

   against the hedge funds. (See id. ¶¶ 40–41). Using a sub-Reddit thread called WallStreetBets as

   a collective action platform, retail investors purchased millions of shares of GME, sending the

   stock price soaring. (See id. ¶¶ 35, 40–43).

           GME closed at $43.03 on January 21, 2021. (See id. ¶ 41). Twenty-four hours later, it

   closed at $65.01. (See id.). By January 27, the share price reached $347.51. (See id. ¶ 121). The

   skyrocketing share price created a short squeeze, which forced hedge funds, like Melvin Capital,

   to take short positions in GME to quickly cover their losses. (See id. ¶ 43). Despite receiving two

   loans for $750 million and $2 billion each, Melvin Capital had to close out its short position. (See

   id.).

   III.    Robinhood’s Reckoning: January 28 – February 2, 2021

           Hedge funds were not alone. The short squeeze forced Robinhood to reckon with its

   newfound popularity. Specifically, the short squeeze created volatile market conditions that forced

   the National Securities Clearing Corporation (“NSCC”) to impose higher collateral requirements

   on Robinhood (see id. ¶ 58) — requirements that Robinhood could not meet.

           Before delving into how the collateral requirements affected Robinhood, it is worth pausing

   to explain the NSCC’s role in this matter. The NSCC is a national clearing agency regulated by



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   the SEC that provides services to its clearinghouse members, including Robinhood Securities. (See

   Robinhood Tranche Order 3 n.7). Among its services, the NSCC guarantees that clearinghouses

   will complete securities transactions. (See id.). To ensure that it can guarantee the transaction, the

   NSCC imposes collateral requirements on its members. (See id.). These collateral requirements

   create the capital necessary for clearinghouses to complete a trade. (See id.). The NSCC imposes

   higher collateral requirements for volatile stocks. (See CCAC ¶¶ 12, 58).

          Market volatility affects two components of the collateral requirements: the core clearing

   fund charge and excess capital premium charge. (See id. ¶¶ 58–59). The core clearing fund charge

   also encompasses a value at risk (“VaR”) charge, which the NSCC calculates based on the

   estimated risk in the member’s portfolio. (See id. ¶ 58). The excess capital premium charge is the

   difference between the member’s excess net capital and its core clearing fund charge. (See id.).

   “The more the core charges exceed the member’s capital cushion, the larger the [excess] capital

   premium charge. To avoid incurring the latter charge the member must either reduce the level of

   risk or raise additional capital.” (Id. (alteration added; footnote call number omitted)).

          Robinhood knew that its collateral requirements would rise. (See id. ¶¶ 44–47). Not only

   had it become the most downloaded application on the App Store (see id. ¶ 47), it also predicted

   having to raise margin requirements on its users (see id. ¶ 42). It was right.

          Robinhood raised margin requirements for GME to 80% on January 26, 2021. (See id. ¶

   47). Later that day, Jim Swartwout, Robinhood Securities’ President and Chief Operating Officer,

   told his staff that he “sold [his] AMC today. FYI — tomorrow morning we are moving GME to

   100% — so you are aware.” (Id. ¶ 47 n.24 (alteration added; citation and quotation marks

   omitted)). Sure enough, on January 27, 2021, Robinhood moved GME to 100% margin. (See id.

   ¶ 47). Despite its efforts, Robinhood knew its collateral requirements would still rise.



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           On January 28, 2021, in anticipation of the NSCC’s deposit requirements, Robinhood

   imposed a position closing only (“PCO”) restriction on GME and AMC options with an expiration

   of January 29, 2021. (See id. ¶ 52). This meant that option holders could only sell their options.

   Despite Robinhood’s preemptive attempt to decrease its deposit requirements, the NSCC requested

   that Robinhood deposit $3.7 billion to ensure that it could complete its unsettled trades. (See id. ¶

   58).

           The $3.7 billion deposit proved too much. Robinhood Markets’ Chief Operating Officer,

   Gretchen Howard, sent an email describing the circumstances as a “major liquidity issue” and

   moved eight stocks — AMC, GME, NOK, BB, NAKD, KOSS, EXPR and BBBY — to PCO; no

   Robinhood user could purchase these stocks. (Id. ¶ 59 (quotation marks omitted)). After

   Robinhood promised to maintain the PCO restriction on stocks “that had driven the increased

   deposit requirements,” the NSCC waived Robinhood’s capital premium charge through February

   1, 2021. (Id. ¶ 60 (quotation marks and footnote call number omitted)). 3

           Robinhood notified its customers that several stocks had been moved to PCO but failed to

   apprise investors that it had also closed out existing options (see id. ¶ 52) 4 and cancelled orders

   after markets closed on January 27 (see id. ¶ 62). Instead, customers received an abbreviated

   explanation of Robinhood’s actions:



   3
    According to Michael Bodson, Chief Executive Officer of the Depository Trust and Clearing Corporation
   (“DTCC”) that oversees the NSCC, the NSCC never “instruct[ed] any clearing member to impose
   restrictions during the market volatility events of late January.” (CCAC ¶ 60 n.37 (alteration added; citation
   and quotation marks omitted)).
   4
     The CCAC does not specify whether Robinhood cancelled put or call options. Call options give the buyer
   the ability to pay a premium to purchase a security at a certain price, known as a strike price. (See SEC
   Staff Report 5 n.5). Put options are the opposite: they give the purchaser the ability to sell the security at
   the strike price. (See SEC, Investor Bulletin: An Introduction to Options (Mar. 18, 2015)
   https://www.sec.gov/oiea/investor-alerts-bulletins/ib_introductionoptions). While the CCAC is silent on
   this point, the SEC’s report suggests that call options contributed to the short squeeze. (See SEC Staff
   Report 29, 43, 43 n.117).
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   (Id. ¶ 76).

           Robinhood’s trading restrictions prompted immediate outrage from investors and elected

   officials alike. (See id. ¶ 69). Many speculated that Robinhood had imposed the restrictions to

   appease hedge funds, including Robinhood’s largest source of revenue: Citadel Securities. (See

   id. ¶ 70).

           To assuage investors and onlookers, Tenev appeared on several news outlets, where he

   made two notable statements. (See id. ¶¶ 77–80). First, he rejected the theory that Robinhood

   issued the restrictions “at the direction of any market maker or hedge fund or anyone we route to

   or any other market participants.” (Id. ¶ 77 (emphasis and footnote call number omitted)). Second,

   he stated “[t]here was no liquidity problem” at Robinhood (id. ¶ 79 (alteration added; emphasis

   omitted), instead attributing the restrictions to market volatility (see id. ¶ 78).

           According to Plaintiffs, Tenev’s assurances led to a flurry of premarket trading activity on

   the morning of January 29, 2021. (See id. ¶ 83). Investors believed Robinhood would lift the PCO

   restrictions soon, a belief bolstered after Robinhood received $1 billion of investor financing. (See

   id.). They were wrong.

           Robinhood maintained restrictions on the numbers of shares and option contracts an

   investor could purchase. (See id. ¶¶ 84–85). It continued to impose greater purchase restrictions

   throughout January 29 as the Affected Stocks rebounded from the previous day’s close price. (See

   id. ¶ 85). The Affected Stocks were not alone; Robinhood subjected other issuers, such as

   Starbucks and General Motors, to purchase restrictions. (See id. ¶ 87).

           Once again, reactions to the restrictions prompted Tenev to appear on media outlets to

   pacify outraged investors and onlookers. This time he directed viewers’ focus to other brokers

   and financial institutions, claiming the trade restrictions were commonplace and “just a standard



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    part of practices in the brokerage industry and the broader financial industry.” (Id. ¶ 92). But

    unlike other institutions, Robinhood imposed broader restrictions that coincided with price dips in

    the restricted stocks. (See id. ¶¶ 87, 90, 93).

           Tenev continued damage control throughout the weekend, on January 30 and 31. He

    maintained that Robinhood simply followed standard industry practices and was not in the pocket

    of institutional investors like Citadel Securities. (See id. ¶¶ 98–100). When asked by Elon Musk

    why Robinhood implemented a purchase-only restriction as opposed to a complete purchase-sale

    restriction, Tenev stated it would be “categorically worse” to restrict both purchases and sales

    because “[p]eople get really pissed off if they’re holding stock and they want to sell it and they

    can’t.” (Id. ¶ 101 (alteration added; quotation marks omitted)). But other Robinhood employees

    felt the PCO restriction would still result in outrage, noting that Robinhood would “get crucified

    for pco-ing.” (Id. ¶ 102 n.60 (alteration adopted; citations and quotation marks omitted)).

           The weekend also gave Robinhood time to build up capital in anticipation of fresh

    collateral requirements from the NSCC. Robinhood raised $2.4 billion from venture capital funds

    and consequently loosened trading restrictions on some, but not all, of the Affected Stocks going

    into Monday, February 1, 2021. (See id. ¶¶ 107, 109–10).

           The purchase restrictions eased further on February 2, 2021; still, some restrictions

    remained in place. (See id. ¶¶ 112–13). Robinhood did not lift all restrictions until late in the day

    on February 4, 2021. (See id. ¶ 121). Despite the delay and backlash, Robinhood’s “IPO [was]

    full steam ahead.” (Id. ¶ 120 (alteration added; footnote call number and quotation marks

    omitted)).




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    IV.     The Aftermath

            Robinhood’s conduct left investors and onlookers disgruntled and concerned. (See id. ¶¶

    80, 101–03, 119, 126). On February 23, 2021, the CEO of Barstool Sports, Dave Portnoy, outlined

    the frustrations during an interview with Tenev. (See id. ¶ 80).

            First, Portnoy probed Robinhood’s liquidity. He asked Tenev whether Robinhood would

    have permitted trading to continue absent the NSCC’s initial deposit requirements. (See id.).

    Tenev conceded that under such circumstances, Robinhood would have allowed trading to

    continue. (See id.). Portnoy pointed out that Tenev’s answer suggested Robinhood had a liquidity

    problem (see id.) — a problem Tenev had previously denied (see, e.g., id. ¶ 79 (“There was no

    liquidity problem.” (emphasis and quotation marks omitted)). Tenev initially resisted Portnoy’s

    observation but conceded that Robinhood might have experienced a liquidity crisis if it had not

    restricted trading. (See id. ¶ 80).

            Second, Portnoy asked why Robinhood had instituted purchase-only restrictions instead of

    a complete freeze on meme stock trading. (See id. ¶ 103). Tenev had previously told Elon Musk

    that Robinhood implemented PCOs to avoid “piss[ing] off” customers eager to sell (id. ¶ 101

    (alteration added; quotation marks omitted)); to Portnoy, Tenev changed his answer and conceded

    that the PCO restrictions allowed Robinhood to mitigate its deposit requirements (see id. ¶ 103).

    In particular, Tenev stated that restricting sales, as opposed to purchases, would not have

    decreased Robinhood’s VaR charges from the NSCC. (See id. (“The VaR formula was in this case

    driven by the one-sided long position, so it actually wouldn’t help us; wouldn’t help the deposit

    requirements to restrict selling in this case[.]” (alteration added))).

            Five months after Tenev’s interview with Portnoy, Robinhood went public at $38 per share.

    (See id. ¶ 126). After the IPO ceremony, Tenev responded to questions about the short squeeze,



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    stating that Robinhood had “learned a lot” and improved certain services to make it “easier for

    customers that want to come back to the service[.]” (Id. (alteration added)). Tenev also noted that

    “it’s been an amazing six months and it really [sic] 18 months and much, much more than that[.]”

    (Id. (alteration added)).

              Plaintiffs filed the CCAC against Defendants on November 30, 2021. (See generally id.). 5

    Plaintiffs all owned shares of at least one of the Affected Stocks at the close of markets on January

    27, 2021 and sold those shares leading up to February 4, 2021. (See id. ¶¶ 21–22). Of the Plaintiffs,

    only some used the Robinhood platform. (See id.).

              The CCAC contains two claims for relief. Count I alleges that Robinhood manipulated the

    prices of the Affected Stocks in violation of section 9(a) of the Securities Exchange Act of 1934.

    (See id. ¶¶ 136–41). 6 Count II alleges an identical theory, but it relies on section 10(b) and rule

    10b-5 promulgated thereunder. (See id. ¶¶ 142–49).

              Count I contains two subclaims under sections 9(a)(2) and 9(a)(4), respectively. (See id.

    ¶¶ 137–39; Resp. 32). 7 Plaintiffs allege that Robinhood violated section 9(a)(2) by intentionally

    manipulating the market to artificially depress the prices of the Affected Stocks. (See CCAC ¶

    138; Resp. 32–37). As for section 9(a)(4), Plaintiffs allege that Robinhood misstated or omitted

    material facts to mislead investors into thinking that it did not have a liquidity problem — a

    problem that would cause Robinhood to lose investors, customers, money, and relatedly, the




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     The Plaintiffs are Blue Laine-Beveridge, Abraham Huacuja, Ava Bernard, Brandon Martin, Brendan
    Clarke, Brian Harbison, Cecilia Rivas, Garland Ragland Jr., Joseph Gurney, Santiago Gil Bóhorquez, and
    Trevor Tarvis. (See CCAC ¶¶ 21–22).
    6
        Codified in 15 U.S.C. section 78i(a).
    7
     The Court uses the pagination generated by the electronic CM/ECF database, which appears in the headers
    of all court filings.


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    chance at a lucrative initial public offering. (See CCAC ¶ 139; Resp. 37–46).

            Count II alleges that Robinhood manipulated the market when it (1) raised margin

    requirements (2) canceled purchase orders for the Affected Stocks, (3) closed out options in AMC

    and GME early, and (4) prohibited and restricted purchases of the Affected Stocks on its platform.

    (See CCAC ¶¶ 72, 143; Resp. 20). 8 These actions allegedly “created a false impression of actual

    demand for the Affected Stocks” and “artificially increased supply of the Affected Stocks[.]”

    (Resp. 20 (alteration added)).

            Defendants move to dismiss the CCAC for failure to satisfy the requisite pleading

    requirements.

                                           LEGAL STANDARDS

            “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

    accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556

    U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). Although

    this pleading standard “does not require ‘detailed factual allegations,’ . . . it demands more than an

    unadorned, the-defendant-unlawfully-harmed-me accusation.”              Id. (alteration added; quoting

    Twombly, 550 U.S. at 555). Pleadings must contain “more than labels and conclusions, and a

    formulaic recitation of the elements of a cause of action will not do[.]” Twombly, 550 U.S. at 555

    (alteration added). Indeed, “only a complaint that states a plausible claim for relief survives a

    motion to dismiss.” Iqbal, 556 U.S. at 679 (citing Twombly, 550 U.S. at 556).

            To meet this “plausibility standard,” a plaintiff must “plead[] factual content that allows

    the court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”

    Id. at 678 (alteration added; citing Twombly, 550 U.S. at 556). When reviewing a motion to


    8
     Although Count II incorporates a claim under rule 10b-5, for brevity, the Court refers to Count II as the
    “section 10(b) claim.”
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    dismiss, a court must construe the complaint in the light most favorable to the plaintiff and take

    the factual allegations therein as true. See Brooks v. Blue Cross & Blue Shield of Fla., Inc., 116

    F.3d 1364, 1369 (11th Cir. 1997) (citing SEC v. ESM Grp., Inc., 835 F.2d 270, 272 (11th Cir.

    1988)).

              While run-of-the-mill complaints are adequate if they contain “a short and plain statement

    of the claim showing that the pleader is entitled to relief[,]” Fed. R. Civ. P. 8(a)(2) (alteration

    added), securities fraud claims are subject to the heightened pleading requirements of Federal Rule

    of Civil Procedure 9(b), see Edward J. Goodman Life Income Tr. v. Jabil Cir., Inc., 594 F.3d 783,

    789 (11th Cir. 2010) (citations omitted). Securities fraud claims therefore must state “with

    particularity the circumstances constituting fraud[.]” Fed. R. Civ. P. 9(b) (alteration added). Rule

    9(b) is satisfied if the complaint includes:

              (1) precisely what statements were made in what documents or oral representations
              or what omissions were made, and (2) the time and place of each such statement
              and the person responsible for making (or, in the case of omissions, not making)
              same, and (3) the content of such statements and the manner in which they misled
              the plaintiff, and (4) what the defendants obtained as a consequence of the fraud.

    Mizzaro v. Home Depot, Inc., 544 F.3d 1230, 1237 (11th Cir. 2008) (quotation marks omitted;

    quoting Tello v. Dean Witter Reynolds, Inc., 494 F.3d 956, 972 (11th Cir. 2007)).

              “[U]nder Rule 9(b), it is sufficient to plead the who, what, when, where, and how of the

    allegedly false statements and then allege generally that those statements were made with the

    requisite intent.” Id. (alteration added). The purpose for this degree of particularity is to “alert[]

    defendants to the precise misconduct with which they are charged and protect[] defendants against

    spurious charges of immoral and fraudulent behavior.” Durham v. Bus. Mgmt. Assocs., 847 F.2d

    1505, 1511 (11th Cir. 1988) (alterations added; citation and quotation marks omitted).

              The pleading requirements do not end with those found in Rule 9(b). Under the Private

    Securities Litigation Reform Act of 1995 (“PSLRA”), Pub. L. No. 104-67, 109 Stat. 737 (1995)
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    (codified as amended in scattered sections of 15 U.S.C.), a complaint must “specify each statement

    alleged to have been misleading” and “the reason or reasons why the statement is misleading,” 15

    U.S.C. § 78u–4(b)(1)(B). “[W]ith respect to each act or omission alleged[,]” the complaint must

    also “state with particularity facts giving rise to a strong inference that the defendant acted with

    the required state of mind.” Id. § 78u–4(b)(2)(A) (alterations added).

           A “‘strong inference’ is one that is ‘cogent and at least as compelling as any opposing

    inference one could draw from the facts alleged.’” Carvelli v. Ocwen Fin. Corp., 934 F.3d 1307,

    1318 (11th Cir. 2019) (quoting Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 324

    (2007)). And the required state of mind, commonly referred to as scienter, “is an ‘intent to defraud

    or severe recklessness on the part of the defendant.’” Id. (quoting FindWhat Inv. Grp. v.

    FindWhat.com, 658 F.3d 1282, 1299 (11th Cir. 2011)). Scienter can be inferred from an aggregate

    of the factual allegations. See id.

                                               ANALYSIS

           Plaintiffs’ market manipulation claims under sections 9(a)(2) and 10(b) satisfy the

    heightened pleading requirements under the PSLRA and Rule 9(b) and thus may proceed. The

    same cannot be said for Plaintiffs’ misstatement claim under section 9(a)(4). The Court explains.

           I.      Section 9(a) Claims

           Section 9(a) contains six subparts, each of which prohibits a different form of price

    manipulation. See 15 U.S.C. §§ 78i(a)(1)–(6). While the CCAC does not identify which of the

    sections Plaintiffs seek to recover under (see CCAC ¶¶ 136–41), the Response narrows the claims

    to sections 9(a)(2) and 9(a)(4) (see Resp. 32). And while the section 9(a)(2) claim contains a

    particularized theory of relief, Plaintiffs’ section 9(a)(4) claim falls short of demonstrating that




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    Robinhood misrepresented and omitted material facts for the purpose of inducing retail investors

    into selling their shares.

                    a. Section 9(a)(2)

            Section 9(a)(2) prohibits “any person” from effecting

            alone or with 1 or more other persons, a series of transactions in any security
            registered on a national securities exchange, any security not so registered, or in
            connection with any security-based swap or security-based swap agreement with
            respect to such security creating actual or apparent active trading in such security,
            or raising or depressing the price of such security, for the purpose of inducing the
            purchase or sale of such security by others.

    15 U.S.C. § 78i(a)(2). The text of the statute reflects Congress’s choice to “outlaw every device

    ‘used to persuade the public that activity in a security is the reflection of a genuine demand instead

    of a mirage.’” Crane Co. v. Westinghouse Air Brake Co., 419 F.2d 787, 794 (2d Cir. 1969)

    (quoting 3 Loss, Securities Regulations 1549–55 (2d ed. 1961)).

            A section 9(a)(2) cause of action consists of five elements:

            (1) a series of transactions in a security creating actual or apparent trading in that
            security or raising or depressing the price of that security, (2) carried out with
            scienter, (3) for the purpose of inducing the security’s sale or purchase by others,
            [that] (4) was relied on by the plaintiff; (5) and affected plaintiff’s purchase or
            selling price.

    Chemetron Corp. v. Bus. Funds, Inc., 682 F.2d 1149, 1164 (5th Cir. 1982) (alteration added;

    footnote call numbers omitted), vacated on other grounds 460 U.S. 1007 (1983).

                            i. Transactions in a Security

            Plaintiffs partially clear the first element. They allege that canceling purchase orders,

    closing out options, restricting purchases, and liquidating customers’ shares of Affected Stocks

    after raising capital requirements all constitute “transactions” for purposes of the statute. (See

    CCAC ¶ 137; see also Resp. 33). Robinhood disagrees that any of its conduct can be characterized




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    as a “transaction,” let alone manipulative. (See Reply 13). To resolve the parties’ competing

    interpretations, the Court examines the meaning of “transaction” under section 9(a)(2).

           “With securities laws, ‘as in other contexts, the starting point in construing a statute is the

    language of the statute itself.’” Tello, 410 F.3d at 1278 (quoting Randall v. Loftsgaarden, 478

    U.S. 647, 656 (1986)). “In addition to the ‘particular statutory language at issue,’ federal courts

    also must consider ‘the language and design of the statute as a whole’ to determine ‘the plain

    meaning of the statute.’” Id. (quoting K Mart Corp. v. Cartier, Inc., 486 U.S. 281, 291 (1988)).

    Courts cannot simply look to one word in isolation; they must also consider “the statutory scheme

    for clarification and contextual reference.” United States v. McLemore, 28 F.3d 1160, 1162 (11th

    Cir. 1994) (citation omitted). “When a statute’s language is not unambiguous on its face, [courts]

    look to the legislative history and the statutory scheme.” Id. at 1163 (alteration added; citations

    omitted).

           Dictionaries are an appropriate place to begin in defining a term’s ordinary meaning. See

    United States v. Isaac, 987 F.3d 980, 991–92 (11th Cir. 2021). A leading authority defines

    “transaction” as “1. The act or an instance of conducting business or other dealings; esp., the

    formation, performance, or discharge of a contract. 2. Something performed or carried out; a

    business agreement or exchange. 3. Any activity involving two or more persons.” Transaction,

    Black’s Law Dictionary (11th ed. 2019); see also United States v. Radley, 632 F.3d 177, 182–83

    (5th Cir. 2011); Fed. Nat’l Mortg. Ass’n v. City of Chicago, 874 F.3d 959, 963 (7th Cir. 2017).

           Consistent with the dictionary’s definition, courts have broadly interpreted “transaction”

    under section 9(a)(2). For example, courts have concluded that a “transaction” encompasses “not

    only completed purchases or sales but also bids and orders to purchase or sell securities.” Secs.

    and Exch. Comm’n v. Lek Secs. Corp., 276 F. Supp. 3d 49, 62 (S.D.N.Y. 2017) (citations omitted);



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    see also Spicer v. Chicago Bd. Options Exch., Inc., No. 88 C 2139, 1990 WL 172712, at *2 (N.D.

    Ill. Oct. 30, 1990), aff’d, 977 F.2d 255 (7th Cir. 1992)). These readings are consistent with the

    SEC’s definition. See 17 C.F.R. § 240.17f-1(a)(5) (“The term securities-related transaction shall

    mean a purpose, sale or pledge of investment securities, or a custodial arrangement for investment

    securities.”).

            One decision, Securities and Exchange Commission v. Lek Securities Corporation,

    highlights another important factor in assessing whether an activity is a “transaction” under section

    9(a)(2): the appearance it gives to investors. See 276 F. Supp. 3d at 62. There, the defendants, a

    broker-dealer and its principal, engaged in a market manipulation scheme called “layering” and

    “cross-market manipulation[,]” wherein they submitted bids to drive up the price of a stock, then

    canceled the bids after taking out shorts against their position. Id. at 55–56 (alteration added).

    Canceling the bids resulted in a sudden drop in the stock price that benefitted the defendants’ short

    position. See id. Although the defendants never finalized their bids, the bids created a “false

    impression of supply or demand for securities and . . . induce[d] other market participants to

    purchase or sell securities.” Id. at 62 (alteration added). Because the transactions created a false

    impression of trading, the court permitted the claims to proceed. See id.

            PCO Restriction. Turning to the activity at issue here, Plaintiffs cite no decisions

    supporting their contention that Robinhood’s PCO restriction amounts to a transaction under

    section 9(a)(2). Nor could they. The PCO restriction involved no bid, pledge, or other arrangement

    to consummate a securities transaction. It affected the manner in which customers traded by

    forcing them to hold or sell their shares, but it did not effect an actual or incomplete trade. See

    Spicer, 1990 WL 172712, at *3.




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            Even under the dictionary’s broad definition, the PCO restriction would not qualify as a

    transaction because it involved no exchange or activity between two or more persons. See

    Transaction, Black’s Law Dictionary (11th ed. 2019).           To hold otherwise would equate a

    transaction with any activity and result in prospective liability under section 9(a) for virtually any

    conduct; at which point, the refrain, “‘Everything is securities fraud’” would ring true. Andrew

    K. Jennings, Shareholders United? 95 Notre Dame L. Rev. Reflection 47, 47 n.2 (2019) (quoting

    Matt Levine, Exxon Is in Trouble over Climate Change, Bloomberg (Oct. 25, 2018, 10:40 AM

    EDT),         https://www.bloomberg.com/opinion/articles/2018-10-25/exxon-is-in-trouble-over-

    climate-change; Matt Levine, Securities Fraud Was Lurking in the Orca Pool, Bloomberg (Sept.

    21, 2018, 12:00 PM EDT)). Thus, the PCO restriction is not a transaction under section 9(a)(2).

            Canceling purchase orders, liquidating customers’ shares, and closing out options,

    however, are a different story.

            Cancelled Purchase Orders. As a reminder, Robinhood cancelled its customers’ purchase

    orders for Affected Stocks on January 28, 2021. (See CCAC ¶ 62 & n.40 (citing Robinhood

    Tranche Compl. [ECF No. 409] ¶¶ 243–44)). A review of section 9(a)(2)’s text and precedent

    supports treating cancelled purchase orders as transactions.

            While Robinhood correctly notes that it never “purchased, sold, bid[,] or ordered the

    purchase or sale of the Affected Stocks” (Reply 13 (alteration added)); the definition of

    “transaction” encompasses cancelled transactions, see Transaction, Black’s Law Dictionary (11th

    ed. 2019) (1. The act . . . of conducting business or other dealings; esp., the formation,

    performance, or discharge of a contract. . . . 3. Any activity involving two or more persons.”

    (alterations and emphasis added)).        Thus, courts have treated cancelled bids and other

    unconsummated broker conduct as transactions under section 9(a)(2) — the former is functionally



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    the same as a cancelled purchase order. See Lek, 276 F. Supp. 3d at 62 (rejecting defendants’

    argument that “cancelled bids and offers are not ‘transactions’”); Spicer, 1990 WL 172712, at *2

    (“The [defendant] did not buy or sell, which would be means of effecting a transaction, or even

    place bids, which would also qualify.” (alteration added; citations omitted)); Secs. and Exch.

    Comm’n v. Malenfant, 784 F. Supp. 141, 145 (S.D.N.Y. 1992) (treating unexecuted attempts to

    match buy and sell orders as a series of transactions). Even the SEC has concluded that a

    transaction encompasses unconsummated transactions. See Biremis Corp., Peter Beck, and

    Charles Kim, 105 S.E.C. 862, 2012 WL 6587520, at *2 (Dec. 18, 2012).

           Robinhood cites several cases in arguing that Plaintiffs fail to identify a transaction. (See

    Reply 9 (citing Spicer, 1990 WL 172712, at *2; Baum v. Phillips, Appel & Walden, Inc., 648 F.

    Supp. 1518, 1530 (S.D.N.Y. 1986), aff’d sub nom., 867 F.2d 776 (2d Cir. 1989))). But the unique

    nature of Robinhood’s business model distinguishes this case from the decisions Robinhood relies

    on.

           In Spicer v. Chicago Board Options Exchange, Inc., the court rejected a section 9(a)(2)

    claim against the Chicago Board Options Exchange (“CBOE”), a national securities exchange

    registered to conduct options trading. See 1990 WL 172712, at *1. A group of investors alleged

    that the CBOE opened on the now-infamous Black Monday 9 knowing it could not maintain an

    orderly market. See id. Throughout Black Monday, the CBOE took actions that allegedly caused

    options’ prices to fluctuate. These included: delaying the execution of index options; modifying

    trading procedures in a confusing manner; failing “to halt or suspend trading”; allowing market

    makers to engage in transactions at inflated prices; and not enforcing rules on market makers. Id.

    (citations and quotation marks omitted).


    9
     “Black Monday” refers to the stock market crash that occurred on Monday, October 19, 1987. See Spicer,
    1990 WL 172712, at *1.
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            In dismissing the complaint, the court highlighted the distinction between “affecting” and

    “effecting” transactions and determined that the CBOE’s conduct may have affected securities

    transactions, but it did not effect, or bring about, the transactions by simply opening the market

    and modifying trading procedures. See id. at *2. Rather, the CBOE’s conduct simply changed the

    manner by which others effected transactions. See id.

            Spicer is distinguishable because Robinhood, as a vertically integrated trading platform,

    has a fundamentally different role from that of an exchange, like the CBOE. Robinhood provides

    online and app-based brokerage services that allow investors to trade in the market (see CCAC ¶

    23), and it executes and clears the trades introduced by its brokerage platform (see id. ¶¶ 24, 58).

    The CBOE was much more hands-off when it came to the actual transactions. It was a marketplace

    that controlled the way investors traded, see Spicer, 1990 WL 172712, at *1; but it did not facilitate

    investors’ trades, route investors’ orders to market makers, or cancel requested transactions.

            By contrast, when Robinhood’s customers submitted their purchase requests to Robinhood,

    they engaged in transactions whereby Robinhood could accept or reject the customers’ requests to

    facilitate the purchase of securities. That Robinhood chose the latter does not yield the conclusion

    that no transaction occurred. To the contrary, refusing to provide a product or service falls within

    the meaning of a transaction. See, e.g., Radley, 632 F.3d at 184 (refusing to buy propane

    constituted a transaction for purposes of the commodities price manipulation statute); Thomas v.

    Duralite Co., Inc., 524 F.2d 577, 587 (3d Cir. 1975) (treating an “incomplete transaction” as a

    transaction). 10


    10
      Robinhood’s reliance on Baum v. Phillips, Appel & Walden, Inc., 648 F. Supp. 1518, fares no better.
    There, “[n]either the Complaint nor plaintiffs’ answering papers address[ed] the elements of a [section]
    9(a)(2) claim.” Id. at 1530 (alterations added). The court ultimately rejected the claim because the plaintiffs
    did not allege any transactions occurred, let alone that they relied on the missing transactions. See id. The
    apparent basis for the dismissal rested on the plaintiffs’ pleading deficiencies rather than a determination
    that unexecuted trades do not constitute a series of transactions. See id.
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            Liquidating shares.        The foregoing analysis also helps illuminate how Robinhood

    conducted a “series of transactions” when it liquidated its customers’ shares after raising margin

    requirements. 15 U.S.C. § 78i(a)(2). Raising margin requirements itself is not a transaction; after

    all, it affects the way customers effect transactions. See Spicer, 1990 WL 172712, at *2. But what

    happens next, i.e., when the customer fails to meet the margin call, does constitute a transaction.

            The margin calls pitted customers between two choices: covering the new margins or

    liquidating their stocks. (See CCAC ¶ 125 & n.63). Some customers, however, did not have an

    opportunity to decide because Robinhood liquidated the stocks before they could satisfy the new

    margin requirements. (See id. ¶¶ 52–53, 125 & n.63; see also Resp. 20, 33). In liquidating the

    Affected Stocks, Robinhood necessarily had to reach into its customers’ margin accounts and sell

    or otherwise convert the Affected Stocks to cash. Such conduct is emblematic of a transaction.

    See, e.g., Trane v. O’Connor Secs., 561 F. Supp. 301, 302 (S.D.N.Y. 1983) (noting that

    transactions include “reorganizations, liquidations, mergers and tender offers”). 11

            Closing out options. Robinhood’s premature closing of customers’ AMC and GME

    options required the same mechanics as its forced liquidation. (See CCAC ¶¶ 52–53). Closing an

    option requires the broker, i.e., Robinhood, to sell the option to another individual or entity. (See

    Reply 21 n.20). Such a sale constitutes a transaction under section 9(a)(2). See Lek, 276 F. Supp.




    11
      Even the SEC treats a forced liquidation as a transaction. See, e.g., Goldman, Sachs & Co., 1999 WL
    123998 (S.E.C. No-Action Letter, Feb. 22, 1999) (“Upon notification of a margin call, a . . . client usually
    will transfer cash or securities into its margin account. If the client needs to liquidate securities to meet a
    margin call, it may place the order with a broker. . . . In the event that a client does not respond to a margin
    call by increasing its equity in the margin account, [the broker] is required by law to exercise its rights as a
    creditor and liquidate assets in the account (‘liquidation transaction’).” (alterations and emphasis added;
    footnote call number omitted)).


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    3d at 56, 62 (treating the sale of options in a cross-market trading scheme as a transaction under

    section 9(a)(2)).

              In sum, cancelling purchase orders, liquidating shares, and closing out options each

    comports with the plain meaning of “transaction,” section 9(a)(2)’s statutory history, and existing

    decisions. The Court agrees with Robinhood that the transactions occurred in a context that hardly

    mirrors run-of-the-mill market manipulation claims, but the unique context is also attributable to

    the avant-garde nature of Robinhood’s trading platform, the likes of which no court has

    encountered when evaluating market manipulation claims. Robinhood’s cutting edge platform

    cannot defeat the principle that “[n]ovel or atypical methods should not provide immunity from

    the securities laws.” A.T. Brod & Co. v. Perlow, 375 F.2d 393, 397 (2d Cir. 1967) (alteration

    added).

                             ii. Scienter

              Counts I and II both allege market manipulation claims; Count I utilizes section 9(a)(2),

    and Count II utilizes section 10(b) and rule 10b-5. (See CCAC ¶¶ 136–49; Resp. 18–32). Both

    sections 9(a) and 10(b) contain a scienter element; if scienter is absent or insufficiently pleaded,

    the claims must be dismissed.

              Interpreting section 10(b), the Eleventh Circuit has held that “scienter consists of intent to

    defraud or severe recklessness on the part of the defendant.” FindWhat Inv’r Grp., 658 F.3d at

    1299–300 (quotation marks omitted; quoting Edward J. Goodman Life Income Tr., 594 F.3d at

    790). Courts in the Eleventh Circuit have not yet weighed in on section 9(a)(2)’s scienter element,

    and courts outside the Eleventh Circuit appear divided as to whether section 9(a)(2)’s scienter

    element only encompasses an intent to defraud, as opposed to severe recklessness. 12 Fortunately,


    12
      Compare Chemetron Corp., 682 F.2d at 1165 (“[R]ecklessness may not be used to fulfill section 9’s
    scienter requirement[.]” (alterations added)) with S.E.C. v. Competitive Techs., Inc., No. 3:04cv1331, 2005
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    the Court need not wade into the split because, as elaborated below, Plaintiffs allege with

    particularity that Robinhood acted willfully. 13

            Viewing scienter through the lens of market manipulation, as opposed to misrepresentation,

    the Court must determine whether Robinhood allegedly “intended to deceive investors by

    artificially affecting the market price of securities.” ATSI Commc’ns, Inc. v. Shaar Fund, Ltd., 493

    F.3d 87, 102 (2d Cir. 2007) (citations omitted). Scienter is particularly important in market

    manipulation claims because “in some cases scienter is the only factor that distinguishes legitimate

    trading from improper manipulation.” Id. Courts can infer scienter when the defendants “(1)

    benefitted in a concrete and personal way from the purported fraud; (2) engaged in deliberately

    illegal behavior; (3) knew facts or had access to information suggesting that their public statements

    were not accurate; or (4) failed to check information they had a duty to monitor.” Emps.’ Ret. Sys.

    of Gov’t of the Virgin Islands v. Blanford, 794 F.3d 297, 306 (2d Cir. 2015) (citation and quotation

    marks omitted); see also MAZ Partners LP v. First Choice Healthcare Sols., Inc., No: 6:19-cv-

    619, 2019 WL 5394011, at *16 (M.D. Fla. Oct. 16, 2019).

            Here, two alleged facts create a particularized inference of scienter. First, Robinhood

    benefitted concretely through its survival, increased financing, and planned IPO. (See CCAC ¶¶

    9, 12, 15, 39, 49, 60 & n.39, 71, 75, 97, 107, 119, 120, 126). Second, its employees, including




    WL 1719725, at *6 n.7 (D. Conn. July 21, 2005) (“The standard for scienter in securities fraud cases has
    generally been stated in relation to section 10(b) manipulation claims rather than section 9(b) manipulation
    claims; however courts have consistently applied the same standard to both sets of claims.” (collecting
    cases)).
    13
       Because, at a minimum, market manipulation claims under sections 9(a)(2) and 10(b) both require an
    intent to defraud, the parties agree that decisions evaluating an intent to defraud under section 10(b)
    generally can be applied in the context of section 9(a), and vice versa. (See Mot. 29 (“Courts customarily
    analyze market manipulation claims under the two sections together[.]” (alteration added)); Resp. 35
    (incorporating Plaintiffs’ section 10(b) scienter arguments into the scienter argument under section
    9(a)(2))).
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    Tenev, knew that its statements were inaccurate and harmful, yet made them anyway. (See id. ¶¶

    42, 45–52, 56–57, 59, 62–64, 67–68, 71–72, 74, 80, 99, 102 n.60).

           As for the benefits, Plaintiffs allege with particularity that Robinhood could not afford the

    NSCC’s rising collateral requirements and faced liquidation unless it somehow found a way to

    either raise enough capital or reduce the collateral requirements. (See id. ¶¶ 12, 59–60, 60 n.39,

    118, 122).   It pursued both options. It raised capital from investors while simultaneously

    implementing restrictions to lower the Affected Stocks’ share prices. (See id. ¶ 12). As share

    prices fell, so did Robinhood’s collateral requirements. (See id. ¶¶ 12, 60, 72, 74, 80, 91, 103).

    Without cancelling purchase orders, closing out options, and liquidating shares, Robinhood would

    have been forced to liquidate its customers’ positions, ending Robinhood (see id. ¶¶ 15, 78, 80)

    and leaving other members of the NSCC to cover its losses (see id. ¶¶ 12, 60, 67, 80).

           For its part, Robinhood maintains that Plaintiffs’ theory boils down to an unactionable

    general motive to profit. (See Mot. 43 (citing Chill v. Gen. Elec. Co., 101 F.3d 263, 268 (2d Cir.

    1996))). Specifically, Robinhood contends that “[a] desire to protect Robinhood’s own financial

    condition cannot support an inference of intent to depress the stock price of unrelated companies.”

    (Reply 22 (alteration added)). Not so.

           Robinhood relies on unpersuasive authority. Chill v. General Electric Company, 101 F.3d

    263, utilizes the Second Circuit’s “motive and opportunity” test that the Eleventh Circuit has

    rejected as a dispositive test in establishing scienter. See Bryant v. Avado Brands, Inc., 187 F.3d

    1271, 1283 (11th Cir. 1999) (“[T]he Reform Act does not codify the ‘motive and opportunity’ test

    formulated by the Second Circuit.” (alteration added)); Waterford Twp. Gen. Emps. Ret. Sys. v.

    BankUnited Fin. Corp., No. 08-Civ-22572, 2010 WL 1332574, at *13 (S.D. Fla. Mar. 30, 2010)

    (“Motive and opportunity alone . . . are insufficient to support a finding of scienter.” (alteration



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    added; citing Bryant, 187 F.3d at 1285)). To the extent courts in the Eleventh Circuit rely on

    motive as a relevant factor in evaluating scienter, they limit the weight of common motives that

    apply to all defendants. See Holmes v. Baker, 166 F. Supp. 2d 1362, 1377 (S.D. Fla. 2001)

    (concluding that motive and opportunity allegations deserved limited weight “because such

    motives can be ascribed to virtually all corporate officers and directors” (alteration adopted;

    citation and quotation marks omitted)).

            Examples of common corporate motives that enjoy limited weight include the motive to

    maintain a high credit rating, the motive to maintain the appearance of corporate profitability, the

    desire to maintain a high stock price to increase compensation, and the desire to protect a

    company’s viability. See In re PXRE Grp., Ltd., Secs. Litig., 600 F. Supp. 2d 510, 530 (S.D.N.Y.

    2009) (collecting cases); see also Coronel v. Quanta Cap. Holdings Ltd., No. 07 Civ. 1405, 2009

    WL 174656, at *16 (S.D.N.Y. Jan. 26, 2009) (finding that the defendant’s motive to maintain a

    financial rating to protect the viability of the company was insufficient, under the law of the Second

    Circuit, to establish a motive to commit fraud).

            But as courts and commentators have acknowledged, defining an impermissible corporate

    motive is borderline unworkable. See, e.g., Ann Morales Olazabal & Patricia Sanchez Abril, The

    Ubiquity of Greed: A Contextual Model for Analysis of Scienter, 60 Fla. L. Rev. 401, 405 & n.21,

    429–431 (2008) (“[J]udicial opinions of the last decade have muddled the issue to the point of

    obscurity.” (alteration added; citing Phillips v. LCI Int’l., Inc., 190 F.3d 609, 620 (4th Cir. 1999))).

    At their base, all fraudulent motives boil down to a desire to be profitable. See In re Barclays

    Liquidity Cross & High Frequency Trading Litig., 390 F. Supp. 3d 432, 451–52 (S.D.N.Y. 2019).

    And courts do not consistently agree on what motives are sufficiently concrete to strengthen an

    inference of scienter. See Bryant, 187 F.3d at 1286 (“[E]ven within the Second Circuit, the



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    wellspring of the analysis, the status of the motive and opportunity test was somewhat uncertain,

    having been applied in a seemingly inconsistent fashion.” (alteration added; citing In re Time

    Warner Inc. Secs. Litig., 9 F.3d 259 (2d Cir. 1993); Shields v. Citytrust Bancorp, Inc., 25 F.3d

    1124, 1128 (2d Cir. 1994))).

            So, as it pertains to the alleged facts, the Court takes a holistic approach, consistent with

    the Eleventh Circuit’s precedent, as shared by other courts. First, motive and opportunity are

    probative, but not sufficient to establish scienter. See Bryant, 187 F.3d at 1286 (“[M]otive and

    opportunity are specific kinds of evidence, which along with other evidence might contribute to

    an inference of recklessness or willfulness.” (alteration added)). Second, to the extent motive is

    probative, ubiquitous motives are less probative than individualized ones. See Holmes, 166 F.

    Supp. 2d at 1377. Third, in addition to evaluating motive, the Court relies on “published statements

    when [defendants] knew facts suggesting the statements were inaccurate or misleadingly

    incomplete” because such statements are “classic evidence of scienter.” U.S. Secs. Exch. Comm’n

    v. Revolutionary Concepts, Inc., No. 21-10984, 2022 WL 386085, at *10 (11th Cir. Feb. 9, 2022)

    (alteration added; citation and quotation marks omitted).

            Turning to the allegations, the Court agrees that Robinhood’s financial desperation, alone,

    is too generalized to create a particularized inference of scienter, but it does “contribute to a finding

    of scienter . . . [and] must be considered together with other allegations to determine if they rise to

    a strong inference of scienter.” Owens v. Jastrow, 789 F.3d 529, 539–40 (5th Cir. 2015))

    (concluding that the threat of ceasing operations contributed to a finding of scienter (alterations

    added; citation and footnote call number omitted)); see also Skiadas v. Acer Therapeutics Inc.,

    1:19-cv-6137, 2020 WL 3268495, at *11 (S.D.N.Y. June 16, 2020) (concluding that plaintiffs

    bolstered the inference of scienter after alleging defendants needed to fundraise “to remain



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    viable”); Zwick Partners, LP v. Quorum Health Corp., No. 3:16-cv-2475, 2018 WL 2933406, at

    *10 (M.D. Tenn. Apr. 19, 2018) (treating defendants’ need for financing as a factor in inferring

    scienter).

            But the Complaint does more than simply rely on Robinhood’s financial desperation as a

    basis to infer scienter. When combined with Robinhood’s employees’ statements, see Phillips v.

    Scientific-Atlanta, Inc., 374 F.3d 1015, 1017 (11th Cir. 2004) (“[T]he PSLRA . . . permit[s] the

    aggregation of facts to infer scienter.” (alterations added; citations omitted)), the Complaint alleges

    with particularity that Robinhood knew its restrictions would artificially depress the Affected

    Stocks, sought to do so, and benefitted from its efforts.

            Tenev hinted to this in a statement on January 31, 2021: “In a matter of days, our

    clearinghouse-mandated deposit requirements related to stocks increased ten-fold. . . . They are

    what led us to put temporary buying restrictions in place on a small number of securities that the

    clearinghouses had raised their deposit requirements on.” (CCAC ¶ 99 (alteration added)). And

    in selling his AMC shares before imposing restrictions, including the margin calls, Jim Swartwout,

    Robinhood Securities’ President and COO, implicitly acknowledged that he knew Robinhood’s

    restrictions would lower the price for Affected Stocks. (See id. ¶ 74 (“I sold my AMC today. FYI

    — tomorrow morning we are moving GME to 100% margin — so you are aware[.]” (alteration

    adopted; other alteration added; quotation marks omitted)); see also id. ¶¶ 52, 62, 72).14




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       According to Plaintiffs, Swartwout also lied under oath when he stated: “At no time on or since January
    27, 2021, did Robinhood restrict a customer’s ability to exercise . . . in-the-money options.” (CCAC ¶ 57
    (alteration added; other alteration adopted; footnote call number omitted)). Robinhood insists that
    Plaintiffs’ characterization fundamentally misunderstands how options work “because to exercise a call
    option, a customer must have the cash on hand to purchase 100 shares of the underlying security,” and
    many of Robinhood’s customers did not have the cash on hand to do so. (Reply 21 n.20). But Plaintiffs’
    factual allegations suggest the opposite, i.e., that customers did have cash on hand to exercise their options,
    but Robinhood prevented them from doing so. (See CCAC ¶¶ 53–57). Either way, Plaintiffs’ factual
    allegations, which the Court must accept as true, support a reasonable inference that Swartwout’s statement
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    Robinhood’s staff’s observations that Robinhood would “get crucified for pco’ing” and “the

    blowback from this is going to be exponentially worse as time goes on” further demonstrate that

    Robinhood expected the Affected Stocks’ price to drop. (Id. ¶ 102 n.60 (citations and quotation

    marks omitted)).

           Tenev’s statements also show not only what Robinhood stood to gain, or rather avoid

    losing, but the deception used to protect these interests. Tenev admitted that if Robinhood could

    not meet its “capital requirements, or [its] deposit requirements, then [it was] essentially dead[.]”

    (Id. ¶ 80 (alterations added; emphasis omitted)).        When the media interviewed Tenev, he

    categorically denied any liquidity problem and insisted that Robinhood implemented restrictions

    to combat market volatility. (See id. ¶¶ 45–46, 79, 99). He repeated the same line to Robinhood’s

    customers. (See id. ¶¶ 62–63).

           These statements boil down to a rhetorical sleight of hand, if not an outright lie. Plaintiffs

    allege that Robinhood implemented the restrictions because it did not have capital to pay the

    collateral requirements spawned by the volatile market. (See id. ¶¶ 80, 99). Even Gretchen

    Howard, Robinhood Markets’s COO, conceded on January 28, 2021, that Robinhood had a “major

    liquidity issue[.]” (Id. ¶ 59 (alteration added; quotation marks omitted)). Yet Tenev outright

    denied the problem until confronted by Portnoy:

           Portnoy: If you don’t get a call at three in the morning, do you regulate trading?

           Tenev: Well, no, we did this because we had to comply with our capital
           requirements[.]

           Portnoy: But you found that out at like three in the morning[.]

           Tenev: If we had a bunch more headroom, yes, we probably would have let things
           continue[.]


    was misleading. See Brooks, 116 F.3d at 1369. And Swartwout’s alleged lie lends support to Plaintiffs’
    theory of scienter.
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           Portnoy: Well if you didn’t get a call that says, hey, we need this money from you,
           you wouldn’t have shut off buying?

           Tenev: Correct. The last thing we would want to do is shut off buying[.]

           Portnoy: That is a capital issue, he specifically said, a liquidity issue, you need this
           much money, you didn’t have it, so you acted. Isn’t that the essence of liquidity?
           Like, are you afraid to say liquidity, because of a domino effect with the banks?

           Tenev: I think that liquidity issue, and I probably should be careful and call it the
           “L word,” right, the “L word” is a big thing in financial services. Basically, if you
           say liquidity issue means [sic] you can’t meet your capital requirements, or your
           deposit requirements, then you’re essentially dead, and that was not the case with
           Robinhood. We met our capital requirements; we met our deposit requirements[.]

           Portnoy: But, that theoretically could be a technicality, right, if you didn’t change
           the trading of that day, you may have had a liquidity issue tomorrow?

           Tenev: Exactly. I think that’s accurate.

    (Id. ¶ 80 (alterations added; emphases and footnote call number omitted)).

           The back-and-forth begins with Tenev first contradicting his earlier statements that

    Robinhood did not have a liquidity problem. Before the interview, Tenev used the NSCC’s rising

    collateral requirements as justification for imposing the restrictions without acknowledging

    Robinhood’s capital concerns. (See id. ¶ 99). This justification deflected the proximate cause of

    Robinhood’s restrictions: Robinhood lacked the “headroom,” i.e., liquidity, to continue trading.

    Period. Indeed, Tenev admitted to Portnoy that but-for the lack of capital, he would have allowed

    buying to continue, regardless of the market volatility. (See id. ¶ 80). Tenev’s admission to

    Portnoy directly conflicted with Tenev’s previous statements to Andrew Ross Sorkin, among

    others, that “[t]here was no liquidity problem.” (Id. ¶ 79 (alteration added; emphasis and quotation

    marks omitted); see also id. ¶ 80).

           The conflicting statements are important in the context of Rule 9(b)’s heightened pleading

    standard because they underscore the “manner in which” Plaintiffs were misled. Tello, 794 F.3d

    at 972 (citation and quotation marks omitted). Plaintiffs sought to understand why Robinhood

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    imposed the restrictions, but instead of being forthright, Robinhood blamed market volatility while

    outright denying its own liquidity concerns. (See CCAC ¶ 99). Tenev even conceded to Portnoy

    on another podcast that Robinhood “could have communicated this a little better to customers.”

    (Id. ¶ 64; see also id. ¶ 67 n.44). Believing that the restrictions were the byproduct of market

    volatility as opposed to Robinhood’s self-interest, Plaintiffs sold their shares. (See id. ¶¶ 1, 21–

    22, 125, 134, 140). Thus, in citing Tenev’s statements, coupled with Robinhood’s restrictions and

    motive to lower the price of the securities, Plaintiffs allege with particularity the “who, what, when,

    where, and how” necessary to allege fraud under Rule 9(b).

           Turning back to scienter, the interview with Portnoy, when aggregated with other

    statements of Robinhood employees, “create a strong inference” that Robinhood acted with the

    intent to artificially depress the price of the Affected Stocks. 15 U.S.C. § 78u–4(b)(2); see also

    ATSI Commc’ns, Inc., 493 F.3d at 102. Above all, Portnoy got Tenev to effectively admit that

    widespread knowledge of Robinhood’s liquidity problem would be its end. (See CCAC ¶ 80).

    This admission provides a window into Tenev’s mindset as the short squeeze events unfolded.

    And the most compelling inference to draw from Tenev’s statement is that he lied, or at least told

    half-truths, about the status of Robinhood’s liquidity to stave off its potential demise. See Mizzaro,

    544 F.3d at 1238 (“[Plaintiff] must . . . plead ‘with particularity facts giving rise to a strong

    inference’ that the defendants . . . intended to defraud investors . . . when they made the allegedly

    materially false or incomplete statements. (alterations added)). In other words, without the

    restrictions, the short-squeeze jeopardized Robinhood’s planned IPO (see id. ¶¶ 39, 49, 71, 126);

    venture funding (see id. ¶¶ 9, 97, 107); and overall existence (see id. ¶¶ 15, 60 & n.39).

           Tenev’s subtle admission that Robinhood sought to avoid a major liquidity issue (see id.

    ¶¶ 15, 78, 80, 99), coupled with Robinhood’s employees’ conflicting statements, misdirections,



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    and admissions that they intended the Affected Stocks’ prices to fall (id. ¶¶ 12–14, 42, 44 n.23,

    52, 71–75, 102 & n.60), generate a particularized inference that Robinhood acted willfully to lower

    the prices of the Affected Stocks. Such an inference satisfies the heightened pleading requirements

    of Rule 9(b) and the PSLRA. Robinhood allegedly knew that its transactions would cause the

    Affected Stocks’ price to drop and engaged in those transactions anyway to serve its own interests

    over those of its customers.

                           iii. Purpose of Inducing the Sale of Securities

           In its final attempt to achieve the dismissal of Plaintiffs’ section 9(a)(2) claim, Robinhood

    asserts that the CCAC fails to allege that Robinhood “acted with ‘the purpose of inducing the

    purchase or sale of such security by others.’” (Reply 13 (quoting 15 U.S.C. § 78i(a)(2))).

    According to Robinhood, the CCAC does not allege “that a reduction in the price of the Affected

    Stocks would have helped Robinhood meet its NSCC deposit requirements.” (Id.). The Court

    disagrees.

           Even Tenev acknowledged that a selloff of the Affected Stocks would lower the VaR

    charge, a component of NSCC’s deposit requirements. (See, e.g., CCAC ¶ 103 (“The VaR formula

    was in this case driven by the one-sided long position, so it actually wouldn’t help us; wouldn’t

    help the deposit requirements to restrict selling in this case[.] Restricting selling wouldn’t help the

    exponential growth in the deposit requirements[.]” (alterations and emphasis added)); see also id.

    ¶¶ 59, 106). When Portnoy asked Tenev why Robinhood did not restrict purchases and sales of

    Affected Stocks, Tenev conceded that “the VaR charge, which drives our deposit requirements,

    was driven by the size of the long position.” (Id. ¶ 103). In other words, “Robinhood[]

    unilateral[ly] manipulat[ed] . . . demand . . . because only purchase risk affects the VaR charge

    Robinhood sought desperately to reduce[.]” (Id. ¶ 106 (alterations added)).



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            The CCAC, including Tenev’s statements, create a particularized inference that Robinhood

    sought to induce its customers into selling their shares of the Affected Stocks in an effort to lower

    the Affected Stocks’ share prices. (See, e.g., id. ¶ 101 (“We knew this was a bad outcome for

    customers.” (quotation marks omitted))). Certainly, Robinhood’s “distorti[on] [of] the demand

    side of the market” (id. ¶ 138 (alterations added)) is probative of its efforts to decrease share prices,

    thereby decreasing its VaR charges.         Without any arguments from Robinhood remaining,

    Plaintiffs’ section 9(a)(2) claim may proceed.

                    b. Section 9(a)(4)

            The same cannot be said for Plaintiffs’ section 9(a)(4) claim. Section 9(a)(4) states:

            (a) It shall be unlawful for any person, directly or indirectly, by the use of the mails
            or any means or instrumentality of interstate commerce, or of any facility of any
            national securities exchange, or for any member of a national securities exchange—

            ....

                (4) If a dealer, broker, security-based swap dealer, major security-based swap
                participant, or other person selling or offering for sale or purchasing or offering
                to purchase the security, a security-based swap, or security-based swap
                agreement with respect to such security, to make, regarding any security
                registered on a national securities exchange, any security not so registered, any
                security-based swap, or any security-based swap agreement with respect to such
                security, for the purpose of inducing the purchase or sale of such security, such
                security-based swap, or such security-based swap agreement any statement
                which was at the time and in the light of the circumstances under which it was
                made, false or misleading with respect to any material fact, and which that
                person knew or had reasonable ground to believe was so false or misleading.

    15 U.S.C. § 78i(a)(4).

            Courts simplify this dense provision to require a “(1) misstatement or omission (2) of

    material fact (3) made with scienter (4) for the purpose of inducing a sale or purchase of a security

    (5) on which the plaintiff relied (6) that affected plaintiff’s purchase or selling price.” Chemetron

    Corp., 682 F.2d at 1161–62 (footnote call numbers omitted). “[T]he ‘intent to induce’ requirement

    creates a higher burden of proof for the plaintiff under section 9(a)(4) than that borne under Rule

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    10b-5(b).” Id. at 1162 (alteration added); see also Salvani v. ADVFN PLC, 50 F. Supp. 3d 459,

    477 (S.D.N.Y. 2014). While a general intent to commit fraud may satisfy the intent element under

    rule 10b-5, it will not suffice under section 9(a)(4) unless the intent specifically seeks to induce

    the sale or purchase of securities. See Chemetron Corp., 682 F.2d at 1162.

           Evaluating intent invokes the PSLRA’s heightened pleading requirements, see 15 U.S.C.

    § 78u-4(b)(2)(A), which mandate consideration of “any opposing inference one could draw from

    the facts alleged.” Tellabs, 551 U.S. at 324 (footnote call number omitted). From there, the Court

    must answer the question: How likely is it that Plaintiffs’ alleged inference, as compared to

    alternatives, flows from the allegations? See id. at 323.

           Plaintiffs cite two categories of misstatements and omissions: (1) Robinhood’s failure to

    inform investors that it could not meet the NSCC’s collateral requirements (see Resp. 38–42), and

    (2) Robinhood’s misleading statements to the public about its liquidity concerns (see id. 43–46).

    Neither category, however, supports Plaintiffs’ theory.

           To begin, the text of the statute requires that the allegedly misleading statements or

    omissions be made “regarding any security registered on a national securities exchange,” 15 U.S.C.

    § 78i(a)(4), yet none of Robinhood’s alleged misstatements or omissions directly pertain to the

    Affected Stocks. Instead, the omissions and misleading statements reflect Robinhood’s corporate

    wellbeing. (See, e.g., Resp. 38 (“Robinhood was severely reckless in failing to inform customers

    of the NSCC deposit requirement in its statements on the morning of January 28[.]” (alteration

    added; emphasis omitted); id. 43 (“Robinhood publicly dissembled about its liquidity crisis while

    it privately searched for capital to keep the doors open[.]” (alteration added; emphasis omitted)).

           In the section 9(a)(2) analysis, the Court treated Robinhood’s misstatements and omissions

    as circumstantial evidence of Robinhood’s deception and motivation for engaging in transactions



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    that artificially depressed the Affected Stocks’ price. But it does not necessarily follow that

    Robinhood misstated and omitted information for the purpose of inducing investors to sell their

    shares. Rather, the more compelling explanation is that Robinhood sought to bamboozle investors

    as to the basis for its restrictions so investors would not flee its platform. Plaintiffs allege as much.

    (See, e.g., CCAC ¶ 66 (“Internal Robinhood communications reveal that at 8:13 a.m. EST on

    January 28th, Robinhood was fashioning just the right message to not lose credibility with its

    current and future customer base[.]” (alteration added)); Resp. 44 (“[Robinhood] did not want to

    lose customers and wanted to make it appear that this was a short-term problem.” (alteration

    added))).

            If investors knew the true reason for Robinhood’s restrictions — i.e., that they were

    imposed to satisfy capital requirements — they would have turned to other trading platforms. (See,

    e.g., CCAC ¶ 42 (“[F]rom a public perception POV, we may want to consider the risks our

    customers face. . . . Although we don’t have a straightforward obligation here because our

    customers are self directed . . . our action[s] may well be compared to the actions of other firms

    (with other obligations to customers).” (alterations added; quotation marks and footnote call

    number omitted))). And they did. Robinhood lost customers but managed to cauterize the

    bleeding and simultaneously attract thousands of new users. (See id. ¶ 119 (“[T]he flood of new

    investors ‘far outweighed’ any attrition. Robinhood was the top app in the iOS app store for

    multiple days. It also led the industry in app downloads by a wide margin with 600,000 people

    downloading the free-trading app[.]” (alterations added)).

            Putting aside the more compelling inference to focus on Plaintiffs’ proposed inference fares

    no better. Plaintiffs strain to argue that the various categories of misstatements and omissions

    occurred with the purpose of causing investors to sell their shares. In their Response, Plaintiffs



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    simply state, “Not knowing the truth about Robinhood’s reason for its actions induced panic

    selling.” (Resp. 41 (citing CCAC ¶¶ 68–69)). But this assertion says nothing about Robinhood’s

    intent.

              Indeed, nowhere in the Response do Plaintiffs bridge Robinhood’s various statements, or

    lack of statements, about collateral requirements to its intent to cause a selloff. To the contrary,

    Plaintiffs acknowledge that Robinhood made those statements to protect its image and prevent the

    mass exodus of its customers. (See, e.g., Resp. 42 (“Robinhood’s motive for not being truthful

    was that it would hurt the company’s image, with an IPO in the works, to admit that it was so

    undercapitalized[.]” (alteration added; citation omitted); id. 44 (“Robinhood dissembled because

    it did not want to lose customers and wanted to make it appear that this was a short-term

    problem.”)). And while misstating facts to protect Robinhood’s public image may satisfy the

    scienter element under rule 10b-5, the same cannot be said for section 9(a)(4). After all, “the

    ‘intent to induce’ requirement of subsection 9(a)(4) is distinct from the scienter requirement of

    Rule 10b-5(b)” in that intending to commit a fraudulent act, alone, is insufficient to establish intent

    under section 9(a)(4), unless the fraud is to induce the purchase or sale of securities. Chemetron

    Corp., 682 F.2d at 1162.

              Plaintiffs thus fail to explain how Robinhood’s omissions and misstatements were designed

    to induce investors to sell their shares. Sure, Robinhood allegedly acted dishonestly, and that

    dishonesty serves as circumstantial evidence that its restrictions were manipulative; but nowhere

    in the CCAC or Response do Plaintiffs articulate why it is “at least as compelling” that Robinhood

    omitted material information to induce customers to sell their shares, as opposed to prevent

    customers from fleeing its application. Tellabs, 551 U.S. at 324 (footnote call number omitted).

    The distinction is important because the former is prohibited under section 9(a)(4), and the latter



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    is not. Because the latter is more compelling than Plaintiffs’ purported inference, Plaintiffs’

    section 9(a)(4) claim fails.

           II.      Section 10(b) Claim

           Section 10(b) makes it unlawful

           [t]o use or employ, in connection with the purchase or sale of any security registered
           on a national securities exchange or any security not so registered, or any securities-
           based swap agreement any manipulative or deceptive device or contrivance in
           contravention of such rules and regulations as the Commission may prescribe as
           necessary or appropriate in the public interest or for the protection of investors.

    15 U.S.C. § 78j(b) (alteration added; footnote call number omitted). Rule 10b-5, promulgated

    under section 10(b), encompasses the same “conduct already prohibited by [section] 10(b)[,]”

    Stoneridge Inv. Partners, LLC v. Scientific-Atlanta, 552 U.S. 148, 157 (2008) (alterations added;

    citing United States v. O’Hagan, 521 U.S. 642, 651 (1997)), and provides:

           It shall be unlawful for any person, directly or indirectly, by the use of any means
           or instrumentality of interstate commerce, or of the mails or of any facility of any
           national securities exchange,
                 (a) To employ any device, scheme, or artifice to defraud,
                 (b) To make any untrue statement of a material fact or to omit to state a material
                 fact necessary in order to make the statements made, in the light of the
                 circumstances under which they were made, not misleading, or
                 (c) To engage in any act, practice, or course of business which operates or
                 would operate as a fraud or deceit upon any person, in connection with the
                 purchase or sale of any security.

    17 C.F.R. § 240.10b–5.

           Section 10(b) and rule 10b-5 “capture a wide range of conduct” and are designed “to root

    out all manner of fraud in the securities industry.” Lorenzo v. Secs. Exch. Comm’n, 139 S. Ct.

    1094, 1101, 1104 (2019). Such conduct includes “the making of a material misstatement (or

    omission) or the commission of a manipulative act.” Cent. Bank of Denver, N.A. v. First Interstate

    Bank of Denver, N.A., 511 U.S. 164, 177 (1994) (citation omitted).



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           “Manipulation . . . . refers generally to practices, such as wash sales, matched orders, or

    rigged prices, that are intended to mislead investors by artificially affecting market activity.” Santa

    Fe Indus., 430 U.S. at 476 (alteration added; citations omitted). These practices are referred to as

    “market manipulation.” In re Galectin Therapeutics, Inc. Secs. Litig., 843 F.3d 1257, 1273 (11th

    Cir. 2016) (citation omitted).

           To assert a market manipulation claim, Plaintiffs must “allege (1) manipulative acts; (2)

    damage (3) caused by reliance on an assumption of an efficient market free of manipulation; (4)

    scienter; (5) in connection with the purchase or sale of securities; (6) furthered by the defendant’s

    use of the mails or any facility of a national securities exchange.” ATSI Commc’ns, 493 F.3d at

    101 (citations omitted). By contrast, a more quotidian misrepresentation claim requires Plaintiffs

    to allege “(1) a material misrepresentation or omission by the defendant; (2) scienter; (3) a

    connection between the misrepresentation or omission and the purchase or sale of a security; (4)

    reliance upon the misrepresentation or omission; (5) economic loss; and (6) loss causation.”

    Stoneridge Inv. Partners, 552 U.S. at 157 (citation omitted).

           Market manipulation and misrepresentation claims differ from one another in several

    respects.   First, a market manipulation claim arises from market activity, rather than a

    misrepresentation, that injects false information into the market. See ATSI Commc’ns, 493 F.3d

    at 101. Second, a plaintiff “need not plead manipulation to the same degree of specificity as a

    plain misrepresentation claim” because a market manipulation claim “can involve facts solely

    within the defendant’s knowledge[.]” Id. at 102 (alteration added; citations omitted). Third,

    market manipulation “permits the plaintiff to plead that it relied on an assumption of an efficient

    market free of manipulation, whereas a misrepresentation claim requires the plaintiff to allege




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    reliance upon a misrepresentation or omission.” Fezzani v. Bear, Stearns & Co., 716 F.3d 18, 27

    (2d Cir. 2013) (Lohier, J., concurring in part and dissenting in part) (citations omitted).

           The first two distinctions prove to be important in assessing Robinhood’s argument that

    Plaintiffs fail to satisfy the first element, “manipulative acts[.]” ATSI Commc’ns, 493 F.3d at 101

    (alteration added). The argument contains two parts: (1) Robinhood could not have sent false

    pricing signals to the market because it did not trade any of the Affected Stocks (see Reply 8–9);

    and (2) Robinhood’s conduct cannot be characterized as manipulative since it disclosed the

    restrictions (see id. 10–12, 19).     In addition to conflating principles distinguishing market

    manipulation from misrepresentation claims, Robinhood’s argument fails because it

    mischaracterizes or ignores the allegations. The Court explains.

                   a. Section 10(b) is Not Limited to Transactions.

           To repeat, section 10(b) prohibits the use of “any manipulative or deceptive device[.]” 15

    U.S.C. § 78j(b) (alteration added). Court have interpreted the statute’s use of “manipulative or

    deceptive device” to refer “generally to practices, such as wash sales, matched orders, or rigged

    prices, that are intended to mislead investors by artificially affecting market activity.” Santa Fe

    Indus., 430 U.S. at 476 (citations omitted).

           While wash sales, matched orders, or rigged prices are not at issue here, Plaintiffs point to

    the following restrictions as examples of manipulative conduct:

           (a) canceling purchase orders for the Affected Stocks placed before the markets
           opened for trading on January 28, 2021; (b) closing out options positions in AMC
           and GME early; (c) prohibiting and later restricting purchases of the Affected
           Stocks on the Robinhood trading platform and (d) abruptly raising margin
           requirements for Robinhood’s customers, forcing those who could not meet the
           margin calls for the Affected Stocks to sell some or all of their holdings.

    (CCAC ¶ 137). The Court has already concluded that (a), (b), and (d) constitute transactions under

    section 9(a)(2); and thus, would fall within Robinhood’s narrow interpretation of manipulative acts


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    under section 10(b). This leaves (c): Robinhood’s PCO restriction. So, as a threshold issue, the

    Court must determine whether Robinhood’s PCO restriction constitutes a “device or

    contrivance[.]” 15 U.S.C. § 78j(b) (alteration added).

           Robinhood does not address section 10(b)’s use of “manipulative or deceptive device or

    contrivance” (id.); instead, it interprets several section 10(b) cases to require a defendant to

    “engag[e] in some sort of deceptive market transaction[,]” such as the purchase or sale of a stock.

    (Reply 9 (alterations added; emphasis omitted; collecting cases)). But without any analysis of the

    text, Robinhood’s argument lacks legs. See Tello, 410 F.3d at 1278 (“With securities laws, ‘as in

    other contexts, the starting point in construing a statute is the language of the statute itself.’”

    (quoting Randall, 478 U.S. at 656)).

           Section 10(b)’s use of “device or contrivance” as opposed to “transaction” ensures that

    claims brought under section 10(b) need not allege a market transaction to plead a market

    manipulation claim. Compare 15 U.S.C. § 78j(b) with 15 U.S.C. § 78i(a)(2). “A standard principle

    of statutory construction provides that identical words and phrases within the same statute should

    normally be given the same meaning[,]” Powerex Corp. v. Reliant Energy Servs., Inc., 551 U.S.

    224, 232 (2007) (alteration added), and any “material variation in terms suggests a variation in

    meaning,” Antonin Scalia & Bryan A. Garner, Reading Law: The Interpretation of Legal Texts

    170 (2012). Commentators generally refer to this as the “presumption of consistent usage” canon

    of statutory interpretation. Id. The canon plays an important role when comparing sections 10(b)

    and 9(a)(2): Section 10(b) prohibits the use of “any manipulative or deceptive device or

    contrivance[,]” 15 U.S.C. § 78j(b) (alteration added), whereas section 9(a)(2) prohibits “a series

    of transactions in any security . . . creating actual or apparent active trading in such security,” 15

    U.S.C. § 78i(a)(2) (alterations and emphasis added).



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            If section 10(b) only applied to market transactions, it would say so. Instead, Congress

    drafted section 10(b) broadly to encompass acts affecting the prices of securities, as opposed to

    limiting claims to transactions. See Chemetron Corp., 682 F.2d at 1166 (comparing section 10(b)

    to section 9(a) and concluding that “[f]rom its inception through various amendments and into its

    final form, section 10(b) was always intended as a ‘catchall’ provision to reach activities not

    covered or anticipated in other provisions of the Acts” (alteration added)); see also Spicer, 1990

    WL 172712, at *3 (“Section 9(a)(2) is not a catch-all section . . . . There is a provision of the

    securities laws which achieves roughly that. See Rule 10b–5(1).” (alteration added; footnote call

    number omitted)).

            The cases Robinhood cites do not suggest otherwise. ATSI Communications, Inc. v. Shaar

    Fund, Ltd. involved market transactions, but the court never limited section 10(b) claims to market

    transactions exclusively. See 493 F.3d at 100. Robinhood reads too far into the court’s statement

    that “courts generally ask whether a transaction sends a false pricing signal to the market[,]” id.

    (alteration and emphasis added), particularly since the court went on to refer to “practices that

    impair the function of stock markets[,]” id. (alteration and emphasis added; citation, footnote call

    number, and quotation marks omitted), and ultimately concluded that prohibited conduct

    encompasses “some market activity,” id. at 101 (emphasis added; citation omitted). 15

            In contrast, decisions that address the scope of section 10(b) support the Court’s reading.

    In City of Providence v. Bats Global Markets, Inc., the Second Circuit considered whether a group

    of securities exchanges, including the NASDAQ and NYSE, engaged in manipulative conduct



    15
       The other decisions Robinhood relies on fare no better. (See Reply 9 (citing Spicer, 1990 WL 172712,
    at *2; Baum, 648 F. Supp. at 1530)). As stated, Spicer acknowledged that rule 10b-5 encompasses broader
    conduct than section 9(a)(2). See 1990 WL 172712, at *3. And Baum did not involve a market
    manipulation claim under section 10(b) or rule 10b-5. See 648 F. Supp. at 1524–26 (addressing plaintiffs’
    misrepresentation claim under section 10(b)).
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    when they “created products and services for HFT firms that illicitly ‘rigged the market’ in the

    firms’ favor in exchange for hundreds of millions of dollars in fees”; “failed to disclose the full

    impact that such products and services would have on market activity”; and “knowingly created a

    false appearance of market liquidity that, unbeknownst to plaintiffs, resulted in their bids and

    orders not being filled at the best available prices.” 878 F.3d 36, 49 (2d Cir. 2017) (citation

    omitted).

           The exchanges argued that their conduct could not qualify as “manipulative” because they

    never engaged in any “trading activity.” Id. at 50 (citation and quotation marks omitted). Noting

    the dearth of authority supporting the exchanges’ argument, the court disagreed. See id. Even if

    the exchanges did not trade securities, they “engaged in conduct that manipulated market activity,

    including by deceiving investors into ‘believing that prices at which they purchased and sold

    securities [were] determined by the natural interplay of supply and demand, not rigged by

    manipulators.’” Id. (alterations adopted; other alteration added; quoting Gurary v. Winehouse, 190

    F.3d 37, 45 (2d Cir. 1999); other citation omitted).

           The reasoning in Bats Global Markets applies equally here. Robinhood may not have

    traded securities when it disabled the buy button, but this restriction misled investors into thinking

    that the Affected Stocks’ value reflected the “natural interplay of supply and demand[.]” Id.

    (alteration added; citations and quotation marks omitted). In reality, the value reflected a Hobson’s

    choice: hold shares of Affected Stocks while Robinhood indefinitely blocks its users — who by

    the way, traded “4% of all shares traded in the U.S. in January 2021” (CCAC ¶ 5 (emphasis

    omitted)) — from purchasing more shares or sell the shares in anticipation of the inevitable

    “tsunami of selling unleashed by Robinhood’s disabling of ‘buy’ buttons for the very stocks that

    were the most popular with its customer base” (id. ¶ 76).



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            Just as the exchanges altered the natural interplay of supply and demand when they sold

    products that gave firms the “ability to access market data at a faster rate, obtain non-public

    information, and take priority over ordinary investors’ trades,” Bats Global Markets, Inc., 878 F.3d

    at 49, Robinhood placed its thumb on the scale of supply and demand when it restricted the sales

    of the Affected Stocks. This conduct, irrespective of whether Robinhood purchased the Affected

    Stocks, constitutes a “device or contrivance[.]” 15 U.S.C. § 78j(b) (alteration added).

            In sum, Plaintiffs need not allege that Robinhood engaged in a market transaction to state

    a claim for market manipulation under section 10(b). To hold Plaintiffs to such a burden would

    undermine the text and purpose of the statute, in addition to erasing a noteworthy distinction

    between sections 9(a)(2) and 10(b).

                    b. Robinhood Only Disclosed Half of the Truth.

            Next, Robinhood argues that its conduct cannot be characterized as manipulative because

    it disclosed each restriction. (See Mot. 22 (“Because the challenged conduct was fully disclosed,

    there can be no manipulation.” (citations omitted)); Reply 10–12). 16 In principle, Robinhood is

    correct: “Deception is the gravamen of a claim for market manipulation, and the market is not

    misled when a transaction’s terms are fully disclosed.” Set Cap. LLC v. Credit Suisse Grp. AG,

    996 F.3d 64, 76 (2d Cir. 2021) (quotation marks and footnote call number omitted)); see also

    Wilson v. Merrill Lynch & Co., Inc., 671 F.3d 120, 130 (2d Cir. 2011) (“In order for market activity




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       As a notable aside, Plaintiffs allege that Robinhood did not disclose each restriction. (See CCAC ¶¶ 52–
    54, 62). Instead of informing investors of its intention to cancel purchase orders submitted after markets
    closed, Robinhood allegedly cancelled the orders and then disclosed the cancellations to customers after
    the fact. (See id. ¶ 62). It made the same post-hoc disclosure after it preemptively closed in-the-money
    options of GME and AMC. (See id. ¶¶ 52–54). Plaintiffs argue that even if market manipulation claims
    require nondisclosure, such nondisclosure exists because Robinhood did not disclose the cancelled
    transactions until after the fact. (See Resp. 20). The Court need not address this argument because
    Robinhood’s alleged failure to disclose its reason for implementing the restrictions, in addition to the
    anticipated effects of such restrictions, also constitute material nondisclosures.
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    to be manipulative, that conduct must involve misrepresentation or nondisclosure.” (citations

    omitted)). But there’s more: even if the terms are fully disclosed, “‘half-truths’ — literally true

    statements that create a materially misleading impression — will support claims for securities

    fraud.” Wilson, 671 F.3d at 130–31 (quotation marks omitted; quoting SEC v. Gabelli, 653 F.3d

    49, 57 (2d Cir.2011); other citation omitted); see also Set Cap. LLC, 996 F.3d at 85. Such is the

    case here.

           Set Capital LLC v. Credit Suisse Group AG is instructive. See 996 F.3d 64. There, Credit

    Suisse entered into an agreement with Set Capital under which Credit Suisse issued XIV Notes

    that increased in value during steady periods in the market and decreased in value with volatility.

    See id. at 69–70. When the parties entered into the agreement, Credit Suisse disclosed that it would

    hedge its exposure by investing in VIX futures contracts — mirror securities that became more

    valuable with volatility and less valuable when the market was steady. See id. at 71. Later, it

    qualified this disclosure: “Although we . . . have no reason to believe that our . . . hedging

    activities will have a material impact on the level of the applicable underlying VIX Futures Index,

    there can be no assurance that the level of the applicable underlying Index will not be affected.”

    Id. at 72 (alterations added; other alteration adopted; footnote call number and quotation marks

    omitted).

           After entering into the agreement, Credit Suisse discovered that it could artificially depress

    the price of the XIV Notes by purchasing large amounts of VIX futures contracts. See id. at 71.

    Armed with this information, Credit Suisse used a period of market volatility to purchase a large

    position in VIX futures contracts, simultaneously causing the value of XIV Notes to plummet. See

    id. at 73. Once the XIV Notes’ price reached a low of $5.99 per note, Credit Suisse issued a call




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    notice to XIV Notes’ purchasers and terminated all notes, resulting in a $1.8 billion loss to

    investors and roughly half-a-billion-dollar profit for Credit Suisse. See id. at 74.

           The Second Circuit relied on Credit Suisse’s disclosure to infer its culpability. The

    disclosure misled investors into believing that Credit Suisse would not hedge its position in a

    manner that materially affected the XIV Notes, even though Credit Suisse intended just the

    opposite. See id. at 79, 84–86. Credit Suisse knew that market volatility could be utilized to

    depress the value of the XIV Notes and “used this knowledge as part of an undisclosed scheme to

    profit at their investors’ expense.” Id. at 77 (emphasis added). In other words, Credit Suisse

    bought VIX futures knowing it would induce a liquidity squeeze on XIV Notes, thereby causing

    XIV Notes to become virtually worthless, and it hid this plan from investors. See id. at 79.

           The omissions and half-truths in Set Capital LLC are similar to Robinhood’s alleged

    conduct here. Just as Credit Suisse misled investors into thinking that it would not materially

    affect the value of the XIV Notes, Robinhood misled users into thinking that only market volatility

    — not its lack of capital — played a role in its decision to raise margin requirements, impose

    purchase restrictions, close out option positions early, and cancel purchase orders. Despite

    knowing that it lacked sufficient liquidity to meet the NSCC’s capital requirements, Robinhood

    outright denied having a liquidity issue and blamed market volatility exclusively. (See CCAC ¶¶

    78–80). Yes, market volatility prompted the NSCC to impose higher collateral requirements —

    collateral requirements that Robinhood could not meet — but as Tenev admitted, if Robinhood

    had “more headroom,” i.e., more capital, it “would have let things continue[.]” (Id. ¶ 80 (alteration

    added; emphasis omitted)).

           Robinhood did not share these facts with its customers, nor did it disclose that the

    restrictions would depress the Affected Stocks’ share prices (see id. ¶¶ 13, 59, 103) — a critical



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    omission that mirrors Credit Suisse’s undisclosed scheme to tank the price of XIV Notes. See Set

    Cap. LLC, 996 F.3d at 77. The omissions consequently deprived Robinhood users of the full

    picture as they debated whether to hold or sell their Affected Stocks. To them, the Affected Stocks’

    declining prices reflected the market’s concern about volatility, not Robinhood’s inadequate

    capital cushion, and certainly not an intentional scheme on the part of Robinhood to lower the

    stocks’ value. (See id. ¶ 80). In allegedly failing to disclose these concerns, Robinhood coupled

    its restrictions with half-truths that collectively “sen[t] a false pricing signal to the market.” ATSI

    Commc’ns, 493 F.3d at 100 (alteration added).

           Robinhood insists that Set Capital LLC is distinguishable because “Plaintiffs are missing

    any allegation that Robinhood engaged in a market transaction or did so without disclosure.”

    (Reply 11). Without these allegations, argues Robinhood, Plaintiffs cannot show that Robinhood

    acted deceptively. (See id.).

           Not only does Robinhood mischaracterize the pleading, but Bats Global Markets also

    demonstrates why Robinhood’s argument is legally flawed. There, the Second Circuit held that a

    defendant need not engage in market transactions to be liable for market manipulation. See Bats

    Glob. Mkts., 878 F.3d at 49. It relied on the exchanges’ failure to disclose the range and effects of

    their products to infer manipulative conduct. See id. at 50.

           One such product, the “complex order type,” enabled HFTs to submit “hide and light”

    orders that remained hidden from ordinary listings until the “stock reache[d] a particular price, at

    which point the hidden orders emerge[d] and jump[ed] the queue ahead of other investors’ orders.”

    Id. (alterations added). These orders created a façade of market liquidity that resulted in the

    investors’ bids “not being filled at the best available prices.” Id. at 49. Had the exchanges

    disclosed the scope and effects of the complex order, investors could have avoided “increased



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    opportunity costs from unexecuted fill orders, adverse selection and price movement bias on

    executed fill orders, and increased execution costs.” Id. at 43.

           Robinhood does not address Bats Global Markets as it applies to Plaintiffs’ market

    manipulation claim. It is a curious oversight on Robinhood’s part, considering its alleged

    omissions bear marked similarities to those of the exchanges. Both Robinhood and the defendant

    in Bats Global Markets allegedly did not disclose the scope, purpose, and effect of their

    conduct/products, thereby sending false signals to the market.

           At the risk of sounding like a broken record, the CCAC describes how the undisclosed

    information impacted Plaintiffs and the market as a whole. Plaintiffs had no idea that their

    submitted orders would be cancelled, nor did they receive any warning that their in-the-money

    options would be preemptively closed. (See CCAC ¶¶ 52–54, 62). Robinhood hid its personal

    stake in the restrictions, letting the market believe that volatility acted as the only impetus for the

    restrictions. (See id. ¶ 80). Meanwhile, days before notifying customers of the new margin

    requirements, Robinhood’s own executive sold his stake in AMC and warned Robinhood

    employees that the planned margin hikes would cause the Affected Stocks’ price decline. (See id.

    ¶¶ 72–74). Plaintiffs did not receive the same benefit.

           To summarize, the Court disagrees with Robinhood that its “conduct was openly and

    accurately disclosed and thus could not be deceptive.” (Reply 12). Even if Robinhood disclosed

    the restrictions — a premise that Plaintiffs dispute (see Resp. 20) — the disclosures were allegedly

    incomplete and misleading. Regurgitating “market volatility” as the basis for restrictions, while

    simultaneously denying any concerns about liquidity despite internal and subsequent statements

    to the contrary (see CCAC ¶¶ 12, 79–80, 103), can hardly be characterized as an “open[] and

    “accurate[] disclos[ure,]” (Reply 12 (alterations added)).         Robinhood’s selective disclosures



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    allegedly misled investors, the market, and Plaintiffs, and thus, they constitute manipulative

    conduct under section 10(b) and rule 10b-5.

           III.    Impact on Other Tranches

           Before concluding, the Court pauses to address the parties’ arguments that the conclusions

    contained in this Order may somehow be in tension with the Court’s past decisions in the Antitrust

    and Robinhood Tranches. (See Mot. 37; Resp. 29 n.21, Reply 16–17). Such is not the case.

                   a. Antitrust Tranche

           Robinhood points to the November 17, 2021 Order [ECF No. 438] (“Antitrust Order”) in

    arguing that Tenev’s statements denying Robinhood’s liquidity problem did not conflict with

    Howard’s statement that Robinhood had a “major liquidity issue[.]” (CCAC ¶ 59 (alteration

    added; quotation markets omitted); see Mot. 42–44; Reply 17–18). Robinhood is mistaken.

           First, the interview with Portnoy puts Tenev’s and Howard’s statements in a different light.

    Admittedly, the Antitrust Order concluded that blaming market volatility was not inconsistent with

    blaming Robinhood’s liquidity problem. But it is significant that neither iteration of the Antitrust

    Tranche Complaints [ECF Nos. 416, 451] included Tenev’s interview with Portnoy.                  Cf.

    Wilchombe v. TeeVee Toons, Inc., 555 F.3d 949, 959 (11th Cir. 2009) (“A court’s review on a

    motion to dismiss is limited to the four corners of the complaint.” (citations and quotation marks

    omitted)). The interview is important because it explored Tenev’s intent as it pertained to the

    explanations for the restrictions; the Antitrust Tranche Complaints lacked the same insight into

    Tenev’s internal deliberations.

           Take Tenev’s explanation to Portnoy for why he was so squirrelly around the term

    “liquidity.” (See CCAC ¶ 80). “I think that liquidity issue, and I probably should be careful and

    call it the ‘L word,’ right, the ‘L word’ is a big thing in financial services. Basically, if you say



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    liquidity issue means you can’t meet your capital requirements, or your deposit requirements, then

    you’re essentially dead[.] (Id. (alteration added; emphasis omitted)). Likening the term “liquidity”

    to a swear word displays Tenev’s, and by consequence Robinhood’s, fear that the public would

    rightfully believe Robinhood lacked sufficient capital. This alleged fact, combined with Tenev’s

    concession that Robinhood could not afford the NSCC’s collateral requirements without imposing

    the restrictions (see id.), create a particularized inference that Robinhood steered the public

    spotlight toward market volatility to avoid scrutiny.

           Second, the legal contexts are different. Section 1 of the Sherman Act, 15 U.S.C. section

    1, relies on plus factors, including evidence of pretext, to create an inference of a conspiracy to

    restrain trade. See In re: McCormick & Co., Inc., 217 F. Supp. 3d 124, 132 (D.D.C. 2016).

    Sections 9(a)(2) and 10(b) of the Securities Exchange Act of 1934 rely on a defendant’s misleading

    or false statements to infer its intent. See U.S. S.E.C. v. Weintraub, No. 11-21549-Civ, 2011 WL

    6935280, at *7 (S.D. Fla. Dec. 30, 2011).

           The Antitrust Order scrutinized Howard’s statements to ascertain whether the reasons

    underlying Robinhood’s conduct were pretextual and thus, probative of an antitrust conspiracy,

    not scienter in a market manipulation scheme. (See Antitrust Order 46–47). Ultimately, in the

    Antitrust Order, the Court concluded that blaming market volatility was not pretext to steer

    onlookers away from the alleged conspiracy with market makers and clearing brokers; rather, the

    more compelling explanation for Howard’s statement was that she simply misspoke and conflated

    market volatility and liquidity. (See id. 47 (“Howard was likely referring to Robinhood’s ability

    to pay the increased collateral requirements caused by the market volatility[.]” (alteration added)).

    Here, the more compelling inference is that Howard’s statement accurately identified the

    proximate cause of the restriction — lack of liquidity — a cause that Tenev did not want the public



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    to know about because widespread knowledge would make Robinhood “essentially dead[.]”

    (CCAC ¶ 80 (alteration added)).

                   b. Robinhood Tranche

           As for the Robinhood Tranche, the Court’s conclusion that Plaintiffs plausibly allege that

    Robinhood intended to artificially depress the Affected Stocks is entirely consistent with the

    Robinhood Tranche Order.       There, the Court concluded that no special relationship under

    California law existed between Robinhood and the plaintiffs that would give rise to liability for

    economic losses. (See Robinhood Tranche Order 22–23, 30–34). As an initial matter, the question

    of whether a tort duty exists under California law calls for an exacting, policy-driven judicial

    inquiry, while the question of whether a complaint adequately alleges liability and causation turns

    on textbook pleading principles. Moreover, in concluding that no tort duties under California law

    existed, the Court evaluated six factors, two of which merit discussion: (1) “the closeness of the

    connection between [plaintiffs’] injury and [Robinhood’s] conduct” and (2) Robinhood’s “moral

    blameworthiness[.]” (Id. 31–32 (alterations added)).

           First, the undersigned concluded that “the link between th[e] decline [of the meme stocks’

    value] and [Robinhood’s] conduct [was] attenuated at best.”          (Id. 31 (alterations added)).

    Theoretically, this conclusion could implicate the causation element under federal securities laws,

    but Robinhood does not challenge causation as it applies to Plaintiffs’ market manipulation claims.

    It challenges causation only in the context of Plaintiffs’ misstatement claim. (See Mot. 40–42;

    Reply 16). But Plaintiffs abandoned their section 10(b) misstatement claim (see generally Resp.),

    and their misstatement claim under section 9(a)(4) fails for other reasons.

           Second, the Court’s moral blameworthiness analysis focused solely on whether the SEC

    and the customer agreement permitted Robinhood’s conduct. (See Robinhood Tranche Order 32).



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    And while “the Customer Agreement and the SEC expressly permitted the types of trading

    restrictions that [Robinhood] implemented[,]” (id. (alterations added; citations omitted)), federal

    securities laws do not permit restrictions if they are “accompanied by manipulative intent[,]” Set

    Cap. LLC, 996 F.3d at 77 & n.49 (alteration added; citing ATSI, 493 F.3d at 100). Courts have

    permitted federal securities claims premised on conduct approved by regulators if the extent of the

    approval is unclear. See Bats Global Mkts., Inc., 878 F.3d at 50. Even if Robinhood argued that

    the NSCC’s approval of the restrictions immunized Robinhood from Plaintiffs’ claims, it would

    need to identify some sort of good faith conformity defense, akin to that prescribed by 15 U.S.C.

    section 80b-11(d), or an extension of the self-regulated organization immunity doctrine, see

    Weissman v. Nat’l Ass’n of Secs. Dealers, Inc., 500 F.3d 1293, 1296 (11th Cir. 2007). If such a

    defense exists, it is not apparent from the pleading or from any information the Court may take

    judicial notice of.

                                                         ***

            The short squeeze stretched Robinhood thin, straining its ability to simultaneously provide

    unconstrained access to markets and comply with regulators. In the end, balancing the two proved

    too much for Robinhood, so it imposed restrictions that hampered its customers’ access to markets.

    These restrictions, of course, impacted the natural state of supply and demand for the Affected

    Stocks, but they alone did not amount to market manipulation. Rather, Robinhood’s allegedly

    opaque and conflicting statements made to hide its lack of capital, coupled with its restrictions,

    evince an intent on the part of Robinhood to artificially depress share prices for its personal benefit.

            At this stage, the Court’s task is to assess whether the well-pleaded allegations, taken as

    true, are sufficiently particularized to satisfy heightened pleading requirements. See Fed. R. Civ.

    P. 9(b); 15 U.S.C. § 78u–4(b)(2)(A). The task presented interesting legal questions, convoluted



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    by the novelty of Robinhood’s platform, but at the end of the day, Plaintiffs’ market manipulation

    claims clear the particularized threshold. 17

                                                  CONCLUSION

            For the foregoing reasons, it is

            ORDERED AND ADJUDGED that the Motion to Dismiss the Securities Tranche

    Complaint [ECF No. 449] is GRANTED in part. Count I’s misrepresentation claim under 15

    U.S.C. section 78i(a)(4) is DISMISSED. The remaining market manipulation claims under

    Counts I and II may proceed. On or before August 22, 2022, Plaintiffs shall file a notice indicating

    whether they would like to proceed with their Motion Requesting Entry of a Scheduling Order Re:

    Amendment of Complaint [ECF No. 495].

            DONE AND ORDERED in Miami, Florida, this 10th day of August, 2022.



                                                          ________________________________________
                                                          CECILIA M. ALTONAGA
                                                          CHIEF UNITED STATES DISTRICT JUDGE

    cc:     counsel of record




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       As is, the CCAC may constitute a shotgun complaint because Count II “repeat[s] and reallege[s] each
    and every allegation contained in the foregoing paragraphs as if fully set forth herein.” (CCAC ¶ 142
    (alterations added)); see Strategic Income Fund, L.L.C. v. Spear, Leeds & Kellogg Corp., 305 F.3d 1293,
    1295 (11th Cir. 2002) (“[A] shotgun complaint contains several counts, each one incorporating by reference
    the allegations of its predecessors, leading to a situation where most of the counts (i.e., all but the first)
    contain irrelevant factual allegations and legal conclusions.” (alteration added)). The Court opts not to
    dismiss the CCAC as a shotgun complaint given the substantial overlap between Counts I and II. Both rely
    on the same set of factual allegations and virtually identical legal theories, thus satisfying the need to “know
    which allegations of fact are intended to support which claim(s) for relief.” Anderson v. Dist. Bd. of Trs.
    of Cent. Fla. Cmty. Coll., 77 F.3d 364, 366 (11th Cir. 1996).
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